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 8                                   UNITED STATES DISTRICT COURT

 9                                SOUTHERN DISTRICT OF CALIFORNIA

10     UNITED STATES OF AMERICA, )                     Case No. 11cr0928-JLS
                                  )
11                     Plaintiff, )
                                  )                    PRELIMINARY ORDER OF
12          v.                    )                    CRIMINAL FORFEITURE
                                  )
13     KEN LaFOND (4),            )
                                  )
14                     Defendant. )
                                  )
15

16             WHEREAS, in the Superseding Information in the above-captioned case, the United States

17     sought forfeiture of all right, title and interest in specific properties of the above-named Defendant,

18     KEN LaFOND (4) ("Defendant"), pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) as

19     properties involved in the commission of the offense to which the Defendant pled guilty, as

20     charged in the Superseding Information; and

21             WHEREAS, on or about July 9, 2012, Defendant, pled guilty to the Superseding

22     Information, which plea included consent to the criminal forfeiture allegation pursuant to Title 18

23     and Title 28 as set forth in the Superseding Information; and

24             WHEREAS, by virtue of the facts set forth in the plea agreement and forfeiture addendum,

25     the United States has established the requisite nexus between the forfeited properties and the

26     offense; and

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 1             WHEREAS, by virtue of said guilty plea, the United States is now entitled to possession

 2     of said properties, pursuant to 18 U.S.C. § 924(d), 28 U.S.C. § 2461(c) and Rule 32.2(b) of the

 3     Federal Rules of Criminal Procedure; and

 4             WHEREAS, pursuant to Rule 32.2(b)(3), the United States having requested the authority

 5     to take custody of the following properties which were found forfeitable by the Court, namely:

 6                     1.     Lorcin Engineering, L380, .380 caliber firearm bearing serial
                              number 306330, and
 7
                       2.     Davis Industries, P-380, .380 caliber firearm bearing serial number
 8                            AP024593; and

 9             WHEREAS, the United States, having submitted the Order herein to the Defendant through

10     his attorney of record, to review, and no objections having been received;

11             Accordingly, IT IS HEREBY ORDERED, ADJUDGED AND DECREED:

12             1.      Based upon the guilty plea of the Defendant, the United States is hereby authorized

13     to take custody and control of the following assets, and all right, title and interest of Defendant

14     KEN LaFOND (4) in these assets are hereby forfeited to the United States for disposition in

15     accordance with the law, subject to the provisions of 21 U.S.C. § 853(n):

16                     1.     Lorcin Engineering, L380, .380 caliber firearm bearing serial
                              number 306330, and
17
                       2.     Davis Industries, P-380, .380 caliber firearm bearing serial number
18                            AP024593.

19             2.      The aforementioned forfeited assets are to be held by Alcohol, Tobacco, Firearms

20     and Explosives in its secure custody and control.

21             3.      Pursuant to Rule 32.2(b)and (c), the United States is hereby authorized to begin

22     proceedings consistent with any statutory requirements pertaining to ancillary hearings and rights

23     of third parties.

24             4.      Pursuant to the Attorney General’s authority under Section 853(n)(1) of Title 21,

25     United States Code, Rule 32.2(b)(3), Fed. R. Crim. P., and Rule G(4) of the Supplemental Rules

26     for Admiralty or Maritime Claims and Asset Forfeiture Actions, the United States forthwith shall

27     publish for thirty (30) consecutive days on the Government’s forfeiture website,

28     www.forfeiture.gov, notice of this Order, notice of the United States' intent to dispose of the

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 1     properties in such manner as the Attorney General may direct, and notice that any person, other

 2     than the Defendant, having or claiming a legal interest in the above-listed forfeited properties must

 3     file a petition with the Court within thirty (30) days of the final publication of notice or of receipt

 4     of actual notice, whichever is earlier.

 5               5.    This notice shall state that the petition shall be for a hearing to adjudicate the

 6     validity of the petitioner's alleged interest in the properties, shall be signed by the petitioner under

 7     penalty of perjury, and shall set forth the nature and extent of the petitioner's right, title or interest

 8     in the forfeited properties and any additional facts supporting the petitioner's claim and the relief

 9     sought.

10               6.    The United States may also, to the extent practicable, provide direct written notice

11     to any person known to have alleged an interest in the properties that are the subject of the

12     Preliminary Order of Criminal Forfeiture.

13               7.    Upon adjudication of all third-party interests, this Court will enter an Amended

14     Order of Forfeiture pursuant to 21 U.S.C. § 853(n), in which all interests will be addressed.

15

16     DATED: August 10, 2012

17                                                     Honorable Janis L. Sammartino
                                                       United States District Judge
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